 Case: 5:07-cv-00140-JMH-JBT Doc #: 1 Filed: 05/15/07 Page: 1 of 6 - Page ID#: 9




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                    AT LEXINGTON

BLOODSTOCK RESEARCH INFORMATION                                                     PLAINTIFF


vs.                                        COMPLAINT                            NO. ___________



SERVE:         EDBAIN.COM LLC                                                     DEFENDANTS
               2811 S. Evergreen Circle
               Boynton Beach, Florida 33426

               JOHN JOHNSON
               P.O. Box 112
               201 Turner Road
               Troy, New York 12182

               JOHN DOE
               address unknown

               JANE DOE
               address unknown

                                          **********

       Plaintiff, Bloodstock Research Information Services, Inc. ("BRIS") , for its Complaint

against Defendants, states as follows:


                                          THE PARTIES



       1.      BRIS is a Kentucky corporation, with its principal place of business at 801 Corporate

Drive, Lexington, Kentucky 40503.



       2.      Defendants, Edbain.com LLC ("Edbain.com"), John Johnson, John Doe (“John Doe”)

and Jane Doe (“Jane Doe”) (collectively, the "Defendants") are individuals whose places of business

or residences are set forth above in the style of this action.
Case: 5:07-cv-00140-JMH-JBT Doc #: 1 Filed: 05/15/07 Page: 2 of 6 - Page ID#: 10




                                 JURISDICTION AND VENUE



       3.       This Court has subject matter jurisdiction under 28 U.S.C. §1331, because this is a

civil action arising under the laws of the United States.



       4.       Defendants have transacted business in this Commonwealth or have entered into

contracts conferring jurisdiction upon federal courts in Fayette County, Kentucky, and this Court

may, therefore, exercise personal jurisdiction over them pursuant to KRS 454.210.



       5.       This action arises out of the Defendants having devised and/or participated in a

scheme to defraud in violation of 18 U.S.C. §1343. In order to carry out this scheme, Defendants

electronically accessed the products of BRIS, through the use of telephone wires, from BRIS's

computer, at BRIS’ offices in Lexington, Fayette County, Kentucky. The Eastern District of

Kentucky, Lexington Division is the district and division in which (a) Defendants have transacted

business, (b) a substantial part of the events or omissions giving rise to the claims herein asserted

have occurred, and (c) Defendants are subject to personal jurisdiction at the time this action is

commenced. Some of the Defendants have also, by agreement, agreed that venue properly lies in

Fayette County, Kentucky. Venue is thus properly laid in this district and division pursuant to 28

U.S.C. §1391.


                                              FACTS



       6.       BRIS is a provider of on-line computerized data base information to the thoroughbred

horse racing industry. BRIS has a large customer base focused toward two market segments:

breeders and handicappers. BRIS acquires its data from the Daily Racing Form ("DRF") and
                                                 2
Case: 5:07-cv-00140-JMH-JBT Doc #: 1 Filed: 05/15/07 Page: 3 of 6 - Page ID#: 11




compensates DRF therefor. From this data, BRIS produces proprietary reports on data files and

other products. Customers of BRIS have pre-established accounts and are provided a user name and

password in order to purchase handicapping and breeding information. Customers can access the

system at all times via various communications software. Each on-line customer is obligated to

acknowledge and agree to a contract with BRIS which prohibits that customer from reselling,

republishing or retransmitting any of the data obtained through BRIS.



       7.      John Doe and Jane Doe, who are unknown Defendants and whose precise identities

are presently unknown, and John Johnson are customers of BRIS pursuant to Brisnet.com

Membership Agreement and are subject to Terms and Conditions which are attached hereto as

Exhibit “A” and are made a part hereof. It is believed that discovery will reveal the true names and

addresses of the unknown defendants described herein as John Doe and Jane Doe.



       8.      Edbain.com sells or offers to sell or otherwise distribute handicapping products over

the intenet to all areas of the world, including in Fayette County, Kentucky.



       9.      The Defendants have organized and/or are participating in a scheme to obtain

information from BRIS via computer and modem over telephone lines. This is the information that

BRIS obtains from DRF. The scheme is one to defraud BRIS in violation of 18 U.S.C. §1962(c).

The scheme is a conduct of an enterprise through a pattern of racketeering activity. As part of this

scheme, the Defendants have committed fraud by wire in violation of 18 U.S.C. §1343. Defendants

have wrongfully induced BRIS to part with property or surrender a legal right, which accomplishes

the scheme. All of the Defendants have participated in the scheme.



       10.     The Terms and Conditions to which John Johnson, John Doe and Jane Doe are
                                                 3
Case: 5:07-cv-00140-JMH-JBT Doc #: 1 Filed: 05/15/07 Page: 4 of 6 - Page ID#: 12




subject, as set forth in Exhibit "A," state in paragraph 5, in part, as follows:



               It is expressly understood that no part of any information received
               from BRIS may be reproduced, resold, published, transmitted,
               disseminated, distributed or commercially exploited by the Customer
               in its existing or any a1tered form or by any means, including,
               mechanically, without the prior written consent, of BRIS. Customer
               agrees not to use the information to conduct any commercial business
               without the prior written consent of BRIS or any activity prohibited
               by law.



As used in the agreement, "Customer" refers to John Johnson, John Doe or Jane Doe.



       11.      In the scheme which the Defendants have devised and/or in which they are

participating, they retrieve information on a regular basis from BRIS. They download the files from

BRIS, extract data from the files, incorporate the extracted data into a new file and sell or distribute

it to Edbain.com’s customers.



       12.      The scheme is intended to deprive BRIS of money by offering products which

contain information obtained from BRIS, thereby diverting potential customers from BRIS or

encouraging customers of BRIS to become customers of Edbain.com and thereby bringing about

financial gain to Defendants and causing financial loss to BRIS.



       13.      The scheme violates the agreements that John Johnson, John Doe and Jane Doe have

with BRIS, as set forth in Exhibit "A," hereto. By entering into their respective agreements with

BRIS, John Johnson, Jane Doe and John Doe -- and Edbain.com as the recipient of the information

from them -- have obtained money by false or fraudulent pretenses, representations or promises.

BRIS would not have entered into the agreements or provided the information had it known or been

                                                   4
Case: 5:07-cv-00140-JMH-JBT Doc #: 1 Filed: 05/15/07 Page: 5 of 6 - Page ID#: 13




advised of Defendants' intentions or use of the information. To accomplish their scheme and obtain

the information, Defendants have caused signals to be transmitted by means of wire communication

in interstate commerce as set forth in 18 U.S.C. §1343.



       14.     BRIS first became aware of the scheme in the summer of 2006. Participation in the

scheme since then has continued, in spite of requests to Edbain.com to cease and desist. In

furtherance of the scheme, John Johnson, John Doe or Jane Doe used the wires in interstate

commerce. Edbain.com regularly used the information in its handicapping products which it

obtained from the other Defendants.



       15.     The Defendants knowingly and wrongfully obtain the information and, in turn, resell

it, all in violation of the agreements that John Johnson, John Doe and Jane Doe have with BRIS.



       16.     As a direct result of the scheme and the violation of 18 U.S.C. §1962(c), BRIS has

been damaged in amounts to be proven at trial, which damages should be joint and several liabilities

of the Defendants.


       17.     Paragraph 7(f) of the Terms and Conditions set forth on Exhibit “A” states in part as

follows:

               Subscriber agrees to pay all reasonable attorney fees and costs
               incurred by BRIS if BRIS prevails in enforcing any provisions of this
               agreement including, but not limited to, the cost of collecting any
               sums owed.

Pursuant to said Paragraph 7(f), BRIS is entitled to recover its attorneys fees herein expended from

John Johnson, John Doe and Jane Doe.



                                                 5
Case: 5:07-cv-00140-JMH-JBT Doc #: 1 Filed: 05/15/07 Page: 6 of 6 - Page ID#: 14




         18.       BRIS has been injured in its business and is entitled to sue therefor and to recover

from the Defendants threefold the damages it has sustained, together with the cost of this action,

including reasonable attorneys' fees, all pursuant to 18 U.S.C. §1964(c).



         WHEREFORE, the Plaintiff demands judgment against the Defendants, jointly and severally,

as follows:



         1.        For trial by jury;



         2.        For damages in amounts to be proven at trial;



         3.        Trebling of the damages awarded to Plaintiff;



         4.        Its costs herein expended, including reasonable attorneys' fees; and



         5.        Any and all other relief to which it may appear to be entitled.


                                                 GESS, MATTINGLY & ATCHISON P.S.C.


                                                 By: ___________________________
                                                        C. Timothy Cone
                                                        Elizabeth S. Hughes
                                                     201 West Short Street
                                                     Lexington, Kentucky 40507
                                                     (859) 252-9000
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